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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION


 UNITED STATES OF AMERICA,                 )
                                           )
              vs.                          )    CAUSE NO. 3:09-CR-24(02) RM
                                           )
 GUADENCIO CRUZ-CORTEZ                     )


                                       ORDER
       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on May 11, 2009 [Doc. No. 30].

 Accordingly, the court now ADOPTS those findings and recommendations,

 ACCEPTS defendant Guadencio Cruz-Cortez’s plea of guilty, and FINDS the

 defendant guilty of Count 4 of the Information, in violation of 21 U.S.C. § 841(a)(1)

 and 18 U.S.C. § 2.

       SO ORDERED.

       ENTERED: June 1, 2009




                                            /s/ Robert L. Miller, Jr.
                                        Chief Judge
                                        United States District Court
